 

_ Case 3:09-Cr-OOO43-CAR-CHW Document 209 Filed 04/29/11 Pagelon
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§ CaSe 3:09-Cr-'QQ,O43-CAR-CHW Dooumeni 202 Filed 02/03/1'§ Page ‘i`Of 6

@WWYSB`MES DISTRICT CcnRT

MIDDLE DISTRICT oF GsoRGtA, ATHst DivistoN

Z§i! AFR 27 Pi‘i li= 21
UNITED sTATes oF AMER{§C§.B

 

§§§§_§§ §§ §§§ §§§,§§ JUDGMENT ma CRIMINALCASE
!sJ ;\s shown

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V~ ns ee-:--: tate

 

Case Number 3 :09-€11-00{)43'002 (CAR)
DETRIC MGGGWAN

UsM Nsmber: sisto-071

   

 

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' Reza Sed£hi ' '.:. §§sz
Defendant‘s Att'omey r_-J ‘ "l"l § 253
TB:E DEFENDANT: &-_-_§ rr;-:E§§__i_
":‘ ` '< 5”§:1"1"11
pieaded guilty to count(s) is_ g § g___§;§:]
m pleaded nolo contendere to oount(s)` which was accepted by the court §§ ,_ §§
§ m was found guiity on count{s) after a p}ea of not guilty. ` § 53
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Of£ense Ended Count
d 21 U.S.C. § 846 i/c/W 21 Conspi.racy to Possess With 02/11/2609
'U.S.C. §§ 341(&)(1) and

lntent to Di`stribnte Coeaine
(b)(l}(B)

The defendant' is sentenced as provided in the foilowing pages of this judginent. The sentence is imposed pursuant to the
Senteneing Reform Act of 1984

E]
i:l

The defendant has been found not guilty on connt(s) .

Count(s) Disrnissed on the motion of the United States.

It` is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of narie,
residence, or mailing address until atf tines, restitution costs, and special assessments imposed by this judgment are fully paid. It` ordered to
pay restitution, the defendant shall notifyr the court and United States attorney of any materiai changes in economic circumstances '

Februerv 2,_ 201 1
Date of Imposition cf }edgme_nt

`Signature of lodge § §
C. ASI~B_.EY ROYAL, fUni tates 13in lodge

'SWQOH:§

Date

 

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Case 3:09-cr-00043-CAR-CHW Document 202 FE§ed 02!03/§1 Page 2 of 6
§ DEFENDANT: nerch McGoWAN

 

cAsE vafeee 3;0`9cR-00043-002 (cAR) ludgment ' Page 2
DISTR.ICT'. MIDDLE D!STR§CT OF GEORGTA
IMPRISONMEN I
The defendant is hereby committed to the custody oft§'re United'Stetes` Bureeu of Prisons to be imprisoned for a total rem of`: 30
§ months. '
§
§ g The Com‘t makes the following recomendetions to the Bureau of Frisens:
§
§ v , _ _ rig s:
w 'Fhe defendant is remanded to the custody of the United States Marshal. 22 3 w
_ §§ §§ E:c:)
. . . 'u iv C!"m"..r}
: [:i The Defendant sha§] surrender to the United States Me_rehel for th;s drstmct: § m 215-§§
5 ~<i £:) ““'
v ij at m a m m m. On . ‘ r\'i m m
' ` p § § g§;i?
g as notified by the United Stetes Marshal. :§ \__g §§
» era :I”' -""~"3%
E L‘- =.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau cf Prisons:

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before 2 p_m. on

; 33 53 notified by the united grams Marshal.
ij

-as nctifred by the Probetion or Pretria{ Oftice. ,

RETURN

   

 

 

 

 

 

 

 

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. . P§ I}?
I have executed this judgment as follows: § s__
. § .e“'
Defendent dciivered on g ""5'98\\ to H"'L C¢Q~Wvgj.,£&h.
at ( §~om\.i_&~., K"§ J with a certified copy ofthis judgment
v ‘ "
Deeeea ,¢z._;»te¢e»,/ Heee¢rweee~é.

 

133qu U S Mmhz

 

 

 

 

 

 

 

 

